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                         UNITED STATES DISTRICT COURT
                                                                    United States Courts
                     FOR THE SOUTHERN DISTRICT OF TEXAS southern District ofTexas
                                                                         FI LED
                                 HOUSTON DIVISION
                                                                     APR 10 2023
    BRANDON BARNES &                                §
    SENRAB SERVICES LLC.                            §          Nathan Ochsner, Clerk of Court

                            Plaintiffs,             §
                                                    §
                                                    §   Civil No: 4:23-CV-00483
        v.                                          §    JURY DEMANDED
                                                    §
    TOM PEACOCK NISSAN-CADILLAC, INC.,              §
    NISSAN MOTOR ACCEPTANCE CORP                    §
    TRUIST FINANCIAL CORPORATION                    §
    TRUIST BANK                                     §
    WILMINGTON TRUST N.A.                           §
    US BANK NATIONAL ASSOCIATION                    §
                            De&ndanb,               §




                                      COMPLAINT

                                          PARTIES

      1. Plaintiff- BRANDON BARNES, 505 Wells Fargo Dr. 814 Houston, Texas near
         77090

      2. Plaintiff - SENRAB SERVICES LLC ., 505 Wells Fargo Dr. 814 Houston, TX
         77090

      3. Defendant - TOM PEACOCK NISSAN-CADILLAC, INC. 15300 North Fwy
         Houston, TX 77090-6002
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4. Defendant - NISSAN MOTOR ACCEPTANCE Co LLC, One Nissan Way
   Franklin, TN 37067

5. Defendant - TRUIST FINANCIAL CORPORA TIONffRUIST BANK, 214
   NORTH TRYON STREET, CHARLOTTE, NC, 28202

6. Defendant - WILMINGTON TRUST, NATIONAL ASSOCIATION, RODNEY
   SQUARE NORTH, 1100 NORTH MARKET STREET, WILMINGTON, DE,
   19890

7. Defendant- US BANK NATIONAL ASSOCIATION, 800 NICOLLET MALL,
   MINNEAPOLIS, MN, 55402-4302 - Indenture Trustee to TRUIST FINANCIAL
   CORPORATION

                                         JURISDICTION

8. This court has subject matter jurisdiction & authority over matters pertaining to

   actions regarding SECURITIES FRAUD, actions relating to the fraudulent use of

   NEGOTIABLE INSTRUMENTS, actions relating to violations of the federal

   TRUTH IN LENDING ACT arising from consumer loan transactions, actions

   related to violations of the FAIR CREDIT REPORTING ACT & actions related to

   FAIR DEBT COLLECTIONS ACT.


                                    CLAIMS

9. SECURITIES FRAUD-Pursuant of 12 CFR § 360.6 (2) Defendant TOM

   PEACOCK NISSAN-CADILLAC, INC ., did not disclose that the consumer credit

   application would be a transferable financial asset in addition to being " self-

   liquidating paper" as described in 17 CFR § 260.11 b-6. These assets, including

   documents not initiated or executed by the plaintiffs, were then transferred to all

   defendants listed in this complaint in addition entities that defendant TOM
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PEACOCK NISSAN-CADILLAC, INC ., has a "business arrangement" as stated

at 16 CFR § 433 .1 (g); or transferred by means of an Indenture Trustee/Owner

Trustee relationship of the defendants. Defendant NISSAN MOTOR

ACCEPTANCE having a peculiar "business arrangement" with Defendant TOM

PEACOCK NISSAN-CADILLAC, INC. , as shown in state filings and (NMAC)

even being incorporated with in the loan documents and shows (NMAC) as the

beneficiary of the insurance policies. Further TOM PEACOCK NISSAN forged

loan documents of which were eventually securitized sold and transferred for a

profit. Notice with in the exhibits that there are 2 contracts with unique a

customer# & deal# as shown in the top right comer of the face of contracts

reflected on the page that has the alleged truth in lending disclosure. Forging or

falsifying documents for the purposes creating more securities to be sold for profit

to various entities is fraud. If this was an inconsequential occurrence then TOM

PEACOCK need not forge the documents, they in effect would be able to draft an

unlimited amount contracts and then sell the securities. But that's not what the

plaintiff is accusing TOM PEACOCK of, as an unsigned contract is not a

negotiable instrument, it is not enforceable and is overall invalid, what TOM

PEACOCK did was forge documents to make them appear legitimate so that they

could be securitized which over time would become very lucrative and valuable,

this giving them incentive to commit securities fraud and involve all of the other

defendants TRUIST BANK, TRUIST FINANCIAL CORPORATION, NISSAN
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MOTOR ACCEPTANCE, US BANK as INDENTURE TRUSTEE to both

TRUIST FINANCIAL CORPORATION & NISSAN MOTOR ACCEPTANCE,

and WILMINGTON TRUST as OWNER TRUSTEE to NISSAN MOTOR

ACCEPTANCE. It also a fraudulent action to not disclose what TOM PEACOCK

would do with the contracts forged or otherwise as the contracts had no value

without being properly executed and signed, this action leaving the consumer

completely handicapped as the disparity between adequate consideration is so

overwhelming lopsided as no person having full knowledge of what were to

become of the signed documents would ever agree to such predatory terms by

signing an agreement that doesn' t meet the prerequisites of an enforceable

contract. The plaintiff was not able to financially benefit from the securities that

his signatures (forged or otherwise) made possible and that were being transferred

and sold because at the time the plaintiff did know because it was not disclosed or

concealed from him. TRUIST BANK and their dealer finance department the co-

conspirators of the deception willfully took the securities even though they knew

there was only 1 transaction and they have in their possession multiple securitized

contracts and applications for the same transaction and automobile. TRUIST

BANK also tried to cover up their fraud by not releasing all of the allegedly signed

documents that was requested by the plaintiff as will be shown by the hours of

recorded phone calls between the plaintiff and Truist representatives. They failed

to provide any good reason why the customer could not get a copy of all the
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  documents the customer allegedly signed and executed. finally , after some

  -quarrelling the plaintiff was able to secure some documents from the TRUIST

  representative, but they accidentally sent the wrong document, they sent a

  document with forged signatures different deal numbers and customer numbers,

  fraudulent signatures and initials the dates were off and the loan terms and

  amounts were also changed. NMAC and its trustees also financially benefitted

  from the deception as UCC filings show they have had an ongoing business

  arrangement with TOM PEACOCK NISSAN for the greater part of2 decades,

  they were also given all of the securities/documents as well and was transferred

  and deposited to all of its subsidiaries, INDENTURE and OWNER trustees.

10. TRUTH IN LENDING VIOLATIONS, REGULATION Z -Regardless of

  intent, defendant TOM PEACOCK NISSAN-CADILLAC, INC. , had throughout

  the transaction misleading, missing and incomplete disclosures about the

  determination of finance charge, annual percentage rate, credit life-accident &

  health insurance, cash down payments in a consumer finance transaction and

  security interest disclosures. Lack of transparency with regards to the negotiable

  instruments being financial assets whether they be applications, contracts or any

  other instrument serving as collateral to fund the "purchase money loan" as

  described at 16 CFR § 433 .1 (d). Further, TOM PEACOCK and TRUIST BANK

  has misleading truth in lending disclosures as a purchase money loan is a cash

  advance that is to be exchanged for a finance charge, a finance charge as defined
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  at 15 USC § 1605 " as the sum of all charges, payable directly or indirectly by

  the person to whom the 'Credit is extended", the way the finance 'Charge is

  presented on the documents does not show the finance charge being the sum of all

  charges which leaves a large discrepancy between the cash advance and the

  finance charge. Also, cash transactions are not included in a finance charge and

  this transaction has a $1500 cash downpayment. Further TOM PEACOCK

  presents itself as the creditor it is not, it is the "seller" and a credit arranger. In

  addition to all of this, on the MOTOR VEHICLE PURCHASE ORDER page of

  the contract states that the base price of the automobile is $60,128.45 but

  interestingly enough the motor vehicle registrations exhibit shows that the base

  price is $46,260 some $13,868.45 less than what stated on the purchase order. The

  purchase order also shows $12,275 in unexplained fees as follows "SRV CONT -

  $5,500", "MAINT CONT - $2,000", "NATION MOTOR CLUB LLC - $1,200",

  and "SELECT 3 / VIN ETCH - $3,575". These are not minor discrepancies these

  appear to done intentional motivated by greed, although those alleging TRUTH IN

  LENDING violations need not prove intent but only need to prove that a violation

  occurred the plaintiff wishes to notate this matter.

11. UNFAIR CREDIT REPORTING & DEBT COLLECTION PRACTICES ~

  Pursuant of 15 U.S. Code§ 1681a-(2) (A) (i) TRUIST BANK violated the

  FCRA by reporting experiences and transactions as it is clear that these things are

  to be excluded from the consumer report as quoted below. "report containing
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  information solely as to transactions or experiences between the consumer and

  the person making the report;". Nor was any ·disdosure provided pursuant to 15

  U.S . Code§ 6803 - Disclosure of institution privacy policy and neither was any

  opportunity given to opt out pursuant to 15 U.S. Code§ 6802 (b). Also, while in

  the midst of a legal proceeding TRUIST BANK either or transferred their security

  interest to or hired SUMMS SKIP/ RECOVERY CONNECT APP. The plaintiff

  was able to obtain a cory of the order where SUMMS SKIP was listed as the lien

  holder of the vehicle not TRUIST BANK. SUMMS SKIP made several attempts

  to forcibly remove the plaintiff's property even after being put on notice that there

  is active and ongoing le.gal proceeding.


                                     NARRATIVE


12. PLAINTIFF went to TOM PEACOCK NISSAN late December 2021 for the

  purposes of purchasing automobile. The transaction was finalized early February

  2022, In August 2022 TRUIST BANK received additional documents that were

  supposedly executed by the consumer but in fact were forged, altered and

  fraudulent documents, including but not limited to applications, contracts and

  other negotiable instruments with the allonge pages that all defendants received as

  part of a standing "Business Arrangement" and the subsequent Parent Companies,

  Subsidiaries, Indenture & Owner Trustees; transferred, deposited & securitized the

  instruments.
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13. In September 2022 the plaintiff contacted TRlJIST BANK and requested th~ Bill

   of Sale, Purchase Order & all documents containing the endorsement or signature

   of the consumer, however TRUIST BANK refused to provide all the requested

   documents but acknowledged that more documents were on file but that they

   could not provide the documents even though the documents contained the

   plaintiff's signature. While on the phone with the representative and requesting

   what documents they would divulge a contract was sent to the consumer which

   differed by means of signatures, initials, dates, loan amounts both principal and

   interest & different customer numbers and deal numbers.

14. After discovering that there were multiple contracts, applications & other

   negotiable instruments most of which the plaintiff did not authorize or initiate the

   plaintiff put all parties on notice and filed for an arbitration. This arbitration was

   denied due to the defendant TOM PEACOCK NISSAN-CADILLAC, INC. ' slack

   of complete disclosure pursuant of the rules of arbitration set forth by the

   American Arbitration Association (AAA). This correspondence from the AAA can

   be found within the exhibits where it also prompts the parties to file in the

   appropriate courts.

15. Additionally, the Defendant TOM PEACOCK NISSAN-CADILLAC initiated

   hard inquiries onto the Plaintiffs' consumer report long after the initial documents

   were executed. TRUIST refused to provide documentary evidence, signed,

   documents, any documentation showing the origin of the credits, GAAP
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       accounting entries both public &, privat~ &, a detailed ledg~r of the s1:l;ltem~nt of

       account.

   16. Pursuant to 16 CFR 433 .2 the plaintiff reserves his rights to assert his claims and

       defenses against all holders of the instrument and respectfully requests this court

       will hear this case.




                                              RELIEF

A. Defendant TRUISTBANK, deliver MCO 1TILE to plaintiff for the 2021 NISSAN TITAN

B. Defendant TRUIST BANK, CEASE THE UNFAIR CREDIT REPORTING & DEBT
   COLLECTION

C. Defendant TRUIST BANK, SHOULD HAVE THE ENTRY ON PLAINTIFF' S CREDIT
   REPORT MARKED AS '~PAID as AGREED" & ~~VER LATE"

D. Defendant TRUIST BANK, should return of tender of the plaintiff in the amount of $10,000.

E. Defendants TOM PEACOCK NISSAN-CADILLAC, INC. & TRUIST BANK shall pay
   twice the amount (15 USC§ 1640-CIVIL LIABILITY) of the finance charge (15 USC§
   1605 -Determination of the finance charge) $89,684.16 x 2 = $179,368.32, this amount
   including the cash down payment.

F. The agent of the Plaintiffs in this case claims all rights, titles and equitable interests owed or
   held for the benefit of the principals, and therefore all proceeds arising from security interest
   owed to the principal shall be forwarded to the estate for processing.

G. With regards to the value of the "Financial Assets" and "Self-Liquidating Paper"
   (applications & contracts) transferred to and received by Defendants; TRUIST BANK,
   NISSAN MOTOR ACCEPTANCE, WILMINGTON TRUST NATIONAL ASSOCIATION,
   & US BANK NATIONAL ASSOCIATION respectively shall be returned back to the
   Plaintiffs in the form of non-cancelable lines of credit.
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II. All reasonable costs incurred by the Plaintiff with regards to this case and any applicable fees
    held within the Plaintiffs fee schedule shall be assessed if this court has the authority to
    compel such fees be paid.

Respectfully,




Barnes-Brandon-T, Authorized Agent for the Plaintiffs

04/07/2023

info@~enrabservices.net
